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   B2100A (Form 2100A) (12/15)


                             United States Bankruptcy Court
                             _______________
                             Southern        District Of _______________
                                                         Ohio (Cincinnati)

         Taryn L. Parsons
   In re ______________________________,                                     1:15-bk-14312
                                                                    Case No. ________________



                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
   Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
   transfer, other than for security, of the claim referenced in this evidence and notice.

   US Bank Trust National Association, as                                      Fay Servicing, LLC as servicing agent for U.S.
                                                                               ROF III Legal Title Trust 2015-1, by U.S. Bank
   Trustee of the SCIG Series III Trust                                        National Association, as Legal Title Trustee
   ______________________________________                                      ____________________________________
              Name of Transferee                                                           Name of Transferor

   Name and Address where notices to transferee                                 Court Claim # (if known): 12
   should be sent:                                                              Amount of Claim: $97,007.34
   c/o SN Servicing Corporation                                                 Date Claim Filed: 03/07/2016
   323 5th Street
   Eureka CA 95501
          800-603-0836
   Phone: ______________________________                                               800-495-7166
                                                                               Phone: __________________________
                               8135
   Last Four Digits of Acct #: ______________                                                               7768
                                                                               Last Four Digits of Acct. #: __________

   Name and Address where transferee payments
   should be sent (if different from above):
   SN Servicing Corporation
   PO Box 660820
   Dallas, TX 75266
   Phone: _______________________________
   Last Four Digits of Acct #: _______________



   I declare under penalty of perjury that the information provided in this notice is true and correct to the
   best of my knowledge and belief.

      /s/ Michelle R. Ghidotti-Gonsalves
   By:__________________________________                                             1/25/2018
                                                                                Date:____________________________
           Transferee/Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                                                                                          (800) 603-0836
                                                                                         Para Español, Ext. 2660 o 2643
             323 5TH STREET                                                            8:00 a.m. – 5:00 p.m. Pacific Time
             EUREKA CA 95501                                                                    Main Office NMLS #5985
                                                                                              Branch Office NMLS #9785



                                                                                                         January 4, 2018

                                                                                 SnscLoanID0000278135
     TARYN PARSONS
     3460 JESSUP RD
     CINCINNATI OH 45239



    RE: New Loan Number:
        Old Loan Number:
        Collateral: 3460 JESSUP ROAD; CINCINNATI OH

                NOTICE OF ASSIGNMENT, SALE, OR TRANSFER OF SERVICING RIGHTS
    Dear Customer:

    The notice, which follows, is intended to inform you that the servicing of your mortgage loan has been
    assigned, sold or transferred. If the above-referenced loan is a closed-end, first lien, 1-4 unit residential (e.g.,
    homes, condominiums, cooperative units and mobile homes) mortgage loan, this notice is being provided to
    you under Section 6 of the Real Estate Settlement Procedures Act (RESPA) (12 U.S.C. §2605). When a
    state law requires this notice, this notice is being provided to you under state law. When neither Section 6 of
    RESPA nor state law requires this notice, this notice is being provided to you for your information.
    You are hereby notified that the servicing of your mortgage loan, that is, the right to collect payments from
    you, has been assigned, sold or transferred from Fay Servicing, LLC to SN Servicing Corporation for SCIG
    Series III Trust, effective December 27, 2017.

    The assignment, sale, or transfer of the servicing of the mortgage loan does not affect any term or condition of
    the mortgage instruments, other than terms directly related to the servicing of your loan.

    Except in limited circumstances, the law requires that your present servicer send you this notice at least 15
    days before the effective date of transfer, or at closing. Your new servicer must also send you this notice no
    later than 15 days after this effective date or at closing.

    Your present servicer is Fay Servicing, LLC, Attn: Customer Service Department
    PO Box 809441, Chicago, IL 60680-9441. If you have any questions relating to the transfer of servicing from
    your present servicer call Customer Service at (800) 495-7166 Monday through Thursday, between 8:00 a.m.
    and 9:00 p.m., Friday between 8:30 a.m. and 5:00 p.m. and Saturday between 10:00 a.m. and 4:00 p.m.
    Central Time. This is a toll-free number.

    Your new servicer will be SN Servicing Corporation.

    The correspondence address for your new servicer is SN Servicing Corporation, 323 Fifth St, Eureka, CA
    95501.

    The toll-free telephone number of your new servicer is (800) 603-0836. If you have any questions relating to
    the transfer of servicing to your new servicer call Kathy Watson at (800) 603-0836 Monday through Friday
    between 8:00 a.m. and 5:00 p.m. Pacific Time. You may access your account and make payments via our
    secure website at https://borrower.snsc.com.

    The date that your present servicer will stop accepting payments from you is December 26, 2017. The date
    that your new servicer will start accepting payments from you is December 27, 2017. Send all payments on
    or after December 27, 2017 to your new servicer.
    Make your payments payable to:        SN Servicing Corporation

    Mail your payments to:                SN Servicing Corporation
                                          PO BOX 660820
                                          DALLAS, TX 75266-0820

    The transfer of servicing rights may affect the terms of or the continued availability of mortgage life or disability
    insurance or any other type of optional insurance in the following manner: SN Servicing Corporation will not
    continue to accept your insurance payments as a part of your monthly loan payment nor will it be responsible
    for the continuation of any such optional insurance coverage. You should take the following action to maintain
    coverage: contact your optional insurance carrier immediately for instructions on how to continue such
    optional insurance coverage.
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   B2100B (Form 2100B) (12/15)

                        United States Bankruptcy Court
                       _______________
                       Southern        District Of _______________
                                                   Ohio (Cincinnati)


         Taryn L. Parsons
   In re ______________________________,                     1:15-bk-14312
                                                    Case No. ________________




        NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
               12
   Claim No. _____    (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
   alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
   Other than for Security in the clerk’s office of this court on ______
                                                                  1/31/2018
                                                                            (date).



   Name of Alleged Transferor                                          Name of Transferee
   Fay Servicing, LLC as servicing agent for U.S.                      US Bank Trust National Association, as
   ROF III Legal Title Trust 2015-1, by U.S. Bank                      Trustee of the SCIG Series III Trust
   National Association, as Legal Title Trustee
   Address of Alleged Transferor:                                      Address of Transferee:
   PO Box 809441                                                        c/o SN Servicing Corporation
   Chicago, IL 60680                                                    323 5th Street
                                                                        Eureka CA 95501

                                 ~~DEADLINE TO OBJECT TO TRANSFER~~
   The alleged transferor of the claim is hereby notified that objections must be filed with the court
   within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
   court, the transferee will be substituted as the original claimant without further order of the court.




   Date:_________                                                ______________________________
                                                                   CLERK OF THE COURT
